
154 U.S. 224 (1894)
COVINGTON AND CINCINNATI ELEVATED RAILROAD AND TRANSFER AND BRIDGE COMPANY
v.
KENTUCKY.
No. 1043.
Supreme Court of United States.
Argued April 25, 1894.
Decided May 26, 1894.
ERROR TO THE COURT OF APPEALS OF THE STATE OF KENTUCKY.
Mr. William H. Jackson, (with whom was Mr. W.H. Wadsworth on the brief,) for plaintiff in error.
Mr. William J. Hendrick, Attorney General of the State of Kentucky, and Mr. William Goebel for defendant in error.
MR. JUSTICE BROWN delivered the opinion of the court.
This case differs from the last only in the fact that the plaintiff in error was not incorporated until 1886, and subsequently to a general law of the State declaring that all charters and grants of or to corporations shall be subject to amendment or repeal at the will of the legislature. Conceding that these words became a part of its charter, and hence that no contract was impaired by the legislation of 1890, such legislation is still open to the objection found to exist in the former case, that it is in conflict with the interstate commerce clause of the Constitution.
The judgment of the Court of Appeals of Kentucky is, therefore,
Reversed, and the case remanded to that court for further proceedings.
MR. CHIEF JUSTICE FULLER, MR. JUSTICE FIELD, MR. JUSTICE GRAY, and MR. JUSTICE WHITE concurred in the judgment of reversal, for the like reasons as in the case of Covington Bridge v. Kentucky, ante, 204, 223.
